 Case: 4:23-cv-01592-HEA Doc. #: 25 Filed: 01/19/24 Page: 1 of 2 PageID #: 239




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

CHRISTOPHER D. PERKINS,                         )
                                                )
              Third-Party Plaintiff,            )
                                                )
v.                                              )        Case No. 4:23-cv-1592-HEA
                                                )
LIFE OF THE SOUTH INSURANCE                     )
COMPANY,                                        )
                                                )
              Third-Party Defendant.            )


                 NOTICE OF ATTENDANCE FOR JANUARY 24, 2024,
                      RULE 16 SCHEDULING CONFERENCE

       Defendant Life of the South Insurance Company, by and through undersigned counsel,

hereby notifies the Court that the following attorneys will attend the January 24, 2024, 10:00

a.m. CST scheduling conference:

       David B. Helms                  314-504-4166
       Benjamin D. Mooneyham           785-221-9532

                                                      GM Law PC

                                                      By: /s/ David B. Helms
                                                      David B. Helms             #48941(MO)
                                                      8000 Maryland Avenue, Suite 1060
                                                      St. Louis, MO 63105
                                                      (314) 474-1750
                                                      (816) 471-2221
                                                      davidh@gmlawpc.com

                                                      Benjamin D. Mooneyham         #65341(MO)
                                                      1201 Walnut Street, Suite 2000
                                                      Kansas City, MO 64106
                                                      (816) 471-7700
                                                      (816) 471-2221 fax
                                                      Email: Benm@gmlawpc.com
                                                      Attorneys for Life of the South Insurance
                                                      Company

                                               1
 Case: 4:23-cv-01592-HEA Doc. #: 25 Filed: 01/19/24 Page: 2 of 2 PageID #: 240




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served via the court’s ECF filing system,
on January 19, 2024, upon all parties and counsel of record.


                                                    /s/ David B. Helms
                                                    David B. Helms




                                                2
